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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   JASON SANTIBANEZ,                                     No. 2:09-cv-00239-MCE-DAD-P

12                  Petitioner,

13          v.                                             ORDER

14   JOHN HAVLIN, Warden,

15                  Respondent.

16                                           /

17          Petitioner, a state prisoner proceeding pro se, has filed this application for a writ of

18   habeas corpus pursuant to 28 U.S.C. § 2254. The matter was referred to a United States

19   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On August 3, 2010, the magistrate judge filed findings and recommendations herein

21   which were served on all parties and which contained notice to all parties that any objections to

22   the findings and recommendations were to be filed within twenty-one days. Respondent has filed

23   objections to the findings and recommendations.

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           Case 2:09-cv-00239-MCE-DAD Document 19 Filed 09/09/10 Page 2 of 2




 1          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

 2   court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

 3   court finds the findings and recommendations to be supported by the record and by proper

 4   analysis.

 5          Accordingly, IT IS HEREBY ORDERED that:

 6          1. The findings and recommendations filed August 3, 2010, are adopted in full; and

 7          2. Petitioner’s application for a writ of habeas corpus (Docket No. 1) is granted.

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      Dated: September 9, 2010
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10                                                MORRISON C. ENGLAND, JR.
                                                  UNITED STATES DISTRICT JUDGE
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